                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION


United States of America                     )
                                             )       Cr. No. 6:06-269-HMH
                                             )
                vs.                          )
                                             )       OPINION & ORDER
Tito L. Knox,                                )
                                             )
                      Defendant.             )


       This matter was heard as a result of a petition filed by the United States Probation Office

(“USPO”) alleging that the Defendant had failed to take his monthly medication.

       The court was advised that the USPO was in possession of the medication which

required an injection by the Defendant’s prescribing physician. In court, the Defendant

consented to having the injection administered by his physician, and the Defendant further

advised that he would comply with the requirement that he receive his monthly injections. The

court, therefore, continued the matter and ordered that the U.S. Marshal transport the Defendant

to the physician for the injection and afterward release him to his home. The court had required

the assistance of the U.S. Marshal for the injection because of safety concerns.

       Subsequently, the U.S. Marshal informed the court that it could not transport the

Defendant for his injection unless the medication was approved by a medical officer in the U.S.

Marshal’s Office in Washington, D.C.




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       The USPO informed the court that they would transport the Defendant to the physician

because the U.S. Marshal would not do so.

       It is therefore

       ORDERED that the U.S. Marshal relinquish custody of the Defendant to the USPO.

       IT IS SO ORDERED.



                                            s/Henry M. Herlong, Jr.
                                            Senior United States District Judge


August 31, 2017
Greenville, South Carolina




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